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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

BANK OF AMERICA, N.A.                         *
                                              *
                             Plaintiff        *
V.                                            *
                                              *
TERESA BLOODMAN                               *              NO: 4:17CV–00112 SWW
                                              *
                           Defendants         *
                                              *



                                            ORDER

       The Clerk is directed to reassign the above styled case, currently assigned to the docket

of Judge Susan Webber Wright, due to her senior status.

       IT IS SO ORDERED THIS 27TH DAY OF FEBRUARY, 2017.


                                                       /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE
